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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 BANG & OLUFSEN A/S,
                                                                      20-cv-10411 (JPO)
                                               Plaintiff,
                                                                            ORDER
 v.

 AR ELECTRICS STORE, BA ELECTRICS STORE,
 DONE-WAY 3C STORE, G-LICHIFIT STORE,
 LICHIFIT ELECTRICS STORE, LICHIFIT-Z6H
 ELECTRICS STORE, LICHIMSK ELECTRICS
 STORE, SHENZHEN WELLDY TECHNOLOGY
 CO., LTD., SHOP5242180 STORE, SHOP5837234
 STORE, SHOP5839201 STORE, SHOP5840211
 STORE, SHOP910962005 STORE, THE WORLD
 ONLINE      STORE,     USA    CAPTAIN-HF
 INTELLIGENT     PRODUCT    STORE,    USA
 COMPASS 3 STORE STORE, USA COMPASS
 INTELLIGENT PRODUCT STORE and ZK-
 LICHIFIT                          STORE,

                                             Defendants.


J. PAUL OETKEN, District Judge:

       On January 6, 2021, Plaintiff informed the Court that each of Defendants has been served

and that this case may be unsealed. Accordingly, the Clerk is directed to unseal this case; the

Court will unseal its Orders of December 21, 2020, and January 11, 2021, and file them on the

public docket; and Plaintiff shall publicly file the supporting documents for the Orders.

       SO ORDERED.

Dated: January 12, 2021
       New York, New York

                                             ____________________________________
                                                        J. PAUL OETKEN
                                                    United States District Judge
